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The Honorable Leonie M. Brinkema
United States District Court
401 Courthouse Square
Alexandria, VA 22314

Dear Judge Brinkema:

       I apologize for the charged conduct: to the Court, my family, my friends, and all of those
whom I have let down, including the Washington Metropolitan Area Transit Authority. It
stemmed from a lack of good judgment on my part, and common sense. This is not the first time
my emotions have led me into error. I sent the gift cards not because my criticism of ISIS had
somehow turned into genuine support for its immoral belief system, but out of a misplaced desire
to support someone I thought was a friend. I would like to give the Court some background
information before turning to the gift cards.

        As inappropriate as my violation was, it is an aberration out of sync with the previous
four decades of my life. I have had many plans and goals in my life: to finish school, obtain a
stable career from which I would retire, and become part of a large family to which I would
devote my energy, and more. Nowhere in these plans and goals of mine could I have foreseen
myself ultimately running afoul of the law (and, anyway, certainly not of the type charged). As
inappropriate as my violation was, it is not something that accurately reflects my past, who I am
today, or who I wish to be in the future.

        I have led most of my life in a socially acceptable manner. I saw myself continuing
JROTC training into college and, ultimately, a military career. After graduation I intended to put
my international politics studies into use in the State Department. To that end, I avoided any
social activities that could possibly lead to trouble, and even abstained from alcohol from high
school through much of college. After leaving college ROTC, and deciding not to pursue a
military career, I found myself without direction, rudderless, and quickly losing my struggle
against depression.

        After some time, careful social decisions, coupled with interests in history and politics,
began to pay off. Most of my friends were decades older than I was, and were involved in law
enforcement. At their urging, and the prompting of my father, I decided to pursue that career as
well. I settled in quickly, finding a sense of purpose and emotional security I had lost. I grew to
love the responsibility of helping others with their problems, and enjoyed exercising discretion in
the manner I enforced laws in my daily routine. Because of my department’s lack of manpower,
I often found myself alone during most of the course of the workday. I enjoyed it, becoming a
well-known and recognizable presence in the areas I patrolled. My work relationships with other
Metro employees turned into warm friendships, despite being told many times not to befriend
non-officers. And I was fairly well-regarded in the communities I policed, fostering mutual
respect and consideration to resolve most problems I encountered. I followed an older model of
policing, not buying into the Us versus Them mentality so prevalent in law enforcement today.

       So how did I transition from this career path, of proud law enforcement, to the situation I
find myself in today? Your Honor, I lost my way. Sincerely I do not know how the person as
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described to you by Officer McNulty at trial found himself text messaging with an undercover
informant about a terrorist group, about attacks in Paris, and about other inappropriate subject
matter. Reflecting on these points now, I am ashamed. But there is one thing that the
government has not proven and will never prove: that I do not love my country and what it
stands for. Indeed, that is precisely why the government created backgrounds for the informants
and undercover agents in this case involving U.S. military service.

        I have never desired or encouraged any act of terrorism in this country, not now, not ever.
How could a patriotic cop engage in conversations about ISIS with an informant? That is the
issue in this case. Your Honor, as anyone who knows me will tell you, for my whole life I have
always had an interest in politics, history, international relations, and foreign cultures. And I
have always given every argument a hearing. I have always been open to the possibility that
both sides to every argument contain their own truth. For better or worse, I am a contrarian, and
more often than not, to a fault. This case is no exception. But the Court has my word that my
willingness to engage with a friend on any subject matter under the sun, no matter how
controversial, has never led me even to consider engaging in or supporting any act of terrorism
against this country.

        Out of all the people I have hurt in this, I have failed my father the most, by nullifying his
hard work and the sacrifice he made for my benefit right up until the end. I have failed by not
being able to look after my sister in all the ways I had before this happened, as my father
expected. He deserved much more from me, and I should have been able to hold the ground
after he died. I have failed for my extreme disservice to my mother, who has supported me
throughout this ordeal, at great expense to her health and well-being. I am aggrieved and
ashamed by the trouble and stress I have brought to the people who love me.

        I do not know what my future will look like. I understand my conviction will preclude
me from ever serving in law enforcement again and from participating in the daily routine that
gave purpose to my life. But there is one thing about the future of which I am certain. That is
that I will never again find myself in this situation, not the charges in this case, or any other
charges. Although employment opportunities will be significantly curtailed on my release, the
Court has my word that, as an able-bodied worker, I will do whatever it takes to make a positive
contribution to society upon my release, and to help support the family who has suffered so
much through this ordeal.

                                                              Respectfully submitted,

                                                              Nicholas Young
                                                              Nicholas Young

(As dictated to counsel)
